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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- X
TAVON TURNER, on behalf of himself and all others
similarly situated,

                                  Plaintiff,
                                                                          NOTICE OF APPEARANCE
               -against-
                                                                                  24 Civ. 8282 (RA)
SMMB INC., d/b/a Purple Plains,

                                   Defendant.
--------------------------------------------------------------------- X


To: The Clerk of the Court and All Parties of Record:

        PLEASE TAKE NOTICE that I am admitted to practice in this Court and hereby
appear in this action as counsel for Defendant.                   Service of all pleadings, papers and
documents required to be served in this action should be served upon the undersigned as
indicated below.

Dated: White Plains, NY
       January 2, 2025
                                                   KEANE & BEANE, P.C.

                                           By:        /s/ Edward J. Phillips
                                                   Edward J. Phillips
                                                   Attorneys for Defendant
                                                   445 Hamilton Avenue, 15th Floor
                                                   White Plains, NY 10601
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                                                   ephillips@kblaw.com
